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IN ’I`HE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Case No.
WAN])A RIZZUTO;
Plaintiff,
v.
WILLIAM SLAYTON;
LIBERTY TRUCK AND TRAILER LEASING & SALES, L.L.C.',
and MELTON TRUCK LINES, INC.

Defendants.

 

NOTICE OF REMOVAL

 

Defendants Williarn Slayton, Liberty Truck and Trailer Leasing & Sales, L.L.C., and
Melton Truck Lines, Inc., by and through their attorney Lance G. Eberhart of Hall & Evan§,
L.L.C., hereby remove civil action number 2008CV863, captioned “Wanda Rizzuto v. Williani
Slayton; Liberty Truck and Trailer Leasing & Sales, L.L.C.; and Melton Truck Lines, Inc.” fronl
the District Court for the 20th J udicial District of Boulder County, Sate of Colorado to the United
States Distn`ct Court for the District of Colorado. As grounds therefore, Defendants state:

1. Any civil action of Which the District Courts of the United States have original
jurisdiction may be removed from a state court to a federal court. 28 U.S.C. § 1441 (a). Th.e
District Courts of the United States have original jurisdiction of all actions between the citizens

of different states When the amount in controversy exceeds $75,000.00. 28 U.S.C. § 1332 (a)(l)__,

 

 

2. The present action is between citizens of different states Plaintiff Wanda Rizzuto
is a citizen of the State of Colorado (See Cornplaint at Paragraph 1).1 Defendant William
Slayton is a resident of Texas (See Cornplaint at Paragraph 2). Defendant Libeity Truck and
Trailer Leasing & Sales, L.L.C. is an Oklahoma Corporation With its principle place of business
in Oklahoma (See Complaint at Paragraph 3) and, therefore, Liberty Truck and Trailer Leasir§g
& Sales L.L.C. is a resident of the State of Oklahoma. 28 U.S.C. § 1332 (c)(l). Defendant
Melton Truck Lines Was an Ol<lahoma Corporation With its principle place of business §n
Ol<lahoma. Melton Truck Lines is therefore a citizen oi` the State of 0klahoma 28 U.S.C. §1332
(C)(l)- 7

3. The amount in controversy also exceeds $75,000,00. Plaintiff asserts that She §s
seeking a monetary judgment for more that 8100,000.00. (See District Court Civil Case Cov§r
Sheet for Initial Pleading of Coniplaint. 2 See also the caption of the Complaint.) Assuming
Plaintiff could prove all of the allegations of her Complaint- and that Defendants have no
defenses, Plaintiff could be expected to recover an amount exceeding $75,000.00. McCraw v.
M, 863 F. Supp. 430, 464 WDAY 1994; Garza v. Bettcher Industires, Inc., 752 F. Supp. 758, -
763 (Ed. Mich. 1990).

4. Pursuant to 28 U.S.C. §1446 (d), a copy of this notice of removal has been file
With the Clerk of Bculder District Court in Civil Action Number 2008CV863. Also, pursuant to
28 U.S.C. §l446(d), a copy of this Notice of Removal has been sent electronically to Corne§l

Johnson of The Law Oi`iice of Cornell Johnson, P.C., attorney for Plaintii`f Wanda Rizzuto.

 

l A copy of the Complaint is included in the set of state court pleadings attached hereto.
2 A copy of the Civil Cover is included in the set of state court pleadings attached hereto.

2

 

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5. Pursuant to D.C. Colo. LR 81.1 and 28 U.S.C. §1446 (a), attached are tl_;§e
following copies of all pleadings, Motions, Order and other papers filed in Civil Actic_§n
2008CV863 in the District Court ofBoulder County, Colorado:

a. Complaint (attached as Exhibit A)
b. Civil Cover (attached as Exhibit B)

6. Trial of this matter has not been set.

WHEREFORE, pursuant to this Notice of Removal in 28 U.S.C. §1441 Defendan_ts
William Slayton, Liberty Tnick and Trailer Leasing & Sales, L.L.C., and Melton Truck Lines,
Inc. respectihlly request that this case be removed from the Distn`ct Court of Bculder Coun§y
Colorado, and that this Court take jurisdiction of and enter such further orders as may be

necessary and proper for the continuation of this action.

DATED this 15th day arsepiember, 2008.

Resp ectfully lsubmitted,

s/ Lance G. Eberhart

Lance G. Eberhart, Esq.

Hall & Evans, L.L.C.

1125 Seventeenth Street, Suite 600
Denver, Colorado 80202
Telephone: 303-628-3407

Fax: 303-628-3368

E-Mail: eberhartl@hallevans.com
Attorneys for Defendants

 

caseloacvoig@QREBMEHDocumem i 'F.l@aoQ/ie/c@ ‘USD<;<;O|OradO Pag@40r17

CERTIFICATE OF SERVICE (CM/ECF)

l hereby certify that on 15th day of September, 2008, I electronically liled the foregoing
NOTICE OF REMOVAL With the Clerk of Court using the CM/ECF system Which Will send
notification of such filing to the following e- -niail addresses: .

Cornell Johnson

The Law Ofiice of Cornell Johnson, P.C.
999 Eighteenth Street, Suite 3000 Soutli
Denver, Colorado 80202

s/ Caroline Villegas

Paralegal to Lance G. Eberhart, Esq.
Hail & Evans, L.L.C.

1125 Seventeenth Street, Suite 600
Denver, Colorado 80202
Telephone: 303-628-3407

Faxz 303-628-3368

E-Mail: eberhartl@hallevans.com
Attorneys for Defendants

 

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EXHIBIT A

 

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DISTRICT COURT FOR TI-IE`. 20th JUDICIAL DISTRICT
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wise

Court Address: Boulder justice Center
1777 6th Street
Bon_lder, Colorado 80302

Phone Nurnber: (303) 441-3750

 

Plaintiff: WANDA RIZZUTO

vs.
* Court Use OnlyA
Defendants: WILLIAM SLAYTON, LIBERTY TRUCK
AND TRAILER LEASING 8c SALES, LLC, and
MELTON TRUCK LINES, INC.

 

Corneil]ohnson, Atty. Reg. No.: 34449
The Law thce of Cornelljohnson, P.C.
999 18th Street, Suite 3000 Soutb Case Nurnber:
Denver, Colorado 80202
/iiz‘ara.gysj%r Plaénigjjt
Division:
Phone Nurnber: (303) 226-5656
Fax Nurnber: (303) 856-3736

E-niail address: c_`§chrison§d')denverslawyer.corn

 

 

COMPLAINT

 

 

 

COMES NOW Plaintiff Wanda Rizzuto by and through her undersigned counsel, The
Law Ofiice of Cornell ]obnson, P.C., and as her Complaint against Defendants Wi]liarn Slayton,
liberty Truci; and Trailer Leasing dc Sales, LLC, and Melton Truck Lines, lnc., states and alleges as

follows:
PURSUANT 'I`O C.R.C.P. 16.1

PlaintiffWanda Rizzuto discussed with her counsel the option and potential benefit of Rule `
16.1. Piaintift’s counsel and Plaintiff Wanda Rizzuto believe that the application of the sirnplihed
procedure would not further the interest of a just, speedy and inexpensive determination of this
action.

 

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Therefore, Plaintiff Wanda Rizzuto opts out of the simplified procedures set forth in
C.R.C.P. 16.1.
GENERAL ALLEGATIONS

l. At all times relevant to this action, Plaintiff Wanda Rizzuto was a resident of
,Arvada, Colorado.

2. Upon information and belief, at all times relevant to this action, Defendant Wiliiarn
Slayton was a resident of E,l Paso, 'l`exas.

3_ Upon information and belief, at all times relevant to this action, Defendant
liberty Truci< and Trailer leasing & Sales, LLC, was an Oklahorna corporation with its principal
office located at 808 North 161St East Avenue, 'l`ulsa, Oklahorna.

4. Upon information and belief, at all times relevant to this action, Defcndant
l\/lelton Truck Lines, lnc., was an Oklahorna corporation with its principal office located at 808
North 161St East Avenue, Tulsa, Oi<lahorna,

5. Defendants Wiliiarn Slayton, liberty Trucl< and 'l`railer leasing & Sales, LLC, and
Melton Truck lines, lnc., are non-residents of the State of Colorado. When a Defendant is a
non-resident of the State of Colorado, an action in tort may be tried in the county designated in
the Cornplaint. Pursuant to C.R.C.P. 98(€)(1), venue is proper in the l)istrict Court of Bculder
County Colorado.

PACTUAL ALLEGATIONS

6. Plaintiff incorporates herein by this reference the allegations contained in
Paragraphs 1 through 5 of this Cornplaint as if set forth verbatim

7. On or about August 20, 2005, at approximately 5:42 p_rn., PlaintiffWanda
Rizzuto was driving her 1999 Ford Expedition, license plate number SOZB]E, vehicle
identification number 1FMPU18LOXLA02357, eastbound on lnterstate ?0 approaching Ward
Road. '

8. On or about August 20, 2005, at approximately 5:42 p.rn., Defendant Williarn
Slayton was operating a Freightliner semi tractor trailer, license plate number 2EU469, vehicle
identincation number lFUPOSZBLlDAWSLll, traveling eastbound on lnterstate 70 directly
behind the vehicle driven by Plaintiff Wanda Rizzuto.

9_ On or about August 20, 2005, at approximately 5:42 p.rn., the Freightliner semi
tractor trailer, license plate number 2E`.U469, vehicle identification number 1FUPOSZB4DA97541,
operated by Defendant Williarn Slayton was owned by Defendant liberty Truck and Trailer
leasing & Sales, ll.C.

 

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10. On or about the aforementioned time, date and place, Defendant William Slayton,
operating the F‘reightliner semi tractor trailer, failed to recognize that trafEc on interstate 70 had
slowed and crashed into the rear of the vehicle driven by Plaintiff Wanda Rizzuto.

ll. Defendant William Slayt:on negligently and carelessly operated the Freightliner semi
tractor trailer when he failed to recognize that trafEc had slowed and collided with the vehicle
operated by Plaintiff Wanda Rizzut:o.

12. Defendant William Slayton's negligent actions were the proximate cause of the
collision of the vehicles driven by PiaintiffWanda Rizzuto and Defendant William Slayton on or
about the time, date and place set forth above

13. Plaintiff Wanda Rizzuto was not comparatively negligent in causing the collision
between the F ord Expedition she was operating and the Freightliner semi tractor trailer driven by
Defendant Williarn Slayton on or about the time, date and place set forth above

14. As a direct and proximate result of the Freightliner semi tractor trailer operated by
Defendant William Slayton crashing into the rear of the 1999 Ford Expedition driven by Plaint:lff
Wanda Rizzuto on or about the aforementioned date and time, PlaintiffWanda Rizzuto suffered
damages

15. At the time of the above-referenced collision, Defendant William Slayton was
driving the Freightliner semi tractor trailer within the course and scope of his employment
and/ or agency with Defendant liberty Truck and 'l`railer leasing & Sales, LLC.

16. As a direct and proximate result of the Freightliner semi tractor trailer operated by
Defendant Williarn Slayton crashing into the rear of the 1999 Ford Expedition driven by Plaintiff
Wanda Rizzuto on or about the aforementioned date and time, Plaintiff Wanda Rizzuto suffered
bodily injury resulting in physical impairment

17. As a direct and proximate result of the Freightliner serni tractor trailer operated by
Defendant Wiiliam Slayton crashing into the rear of the 1999 f"ord Expedition driven by Plaintiff
Wanda Rizzuto as set forth above, Plaintiff Wanda Rizzuto incurred and continues to incur
economic losses and damages, including, but not limited toJ medical and rehabilitation expenses,
loss of earnings, and loss of earning capacity.

18. As a direct and proximate result of the Freightliner semi tractor trailer operated by
Defendant William Slayton crashing into the rear of the 1999 Ford Expedition driven by Plaintiff
Wanda Rizzuto as set forth above, Plaintiff Wanda Rizzuto suffered and continues to suffer non-
economic damages, including, but not limited to, pain and suffenng, inconvenience, emotional
distress, loss of enjoyment of life and impairment of quality of life.

FIRST CLAIM FOR RELIEF
Negligence Resulting in Personal Injury - Defendant William Slayton

 

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19. Plaintiff incorporates herein by this reference the allegations contained in
Paragraphs 1 through 18 of this Compiaint as if set forth verbatim

20. Defendant William Slayton owed Plaintiff Wanda Rizzuto a duty to exercise
reasonable care in the operation of the Freightiiner semi tractor trailer he was driving along
interstate 70 on or about August 20, 2005, at approximately 5:42 p.m.

21. Defendant Wiliiam Slayton breached his above-mentioned duty of care by
operating the F‘reightliner semi tractor trailer as set forth above in a negligent and careless
manner, without regard to all attendant circumstances

22. As a direct and proximate result of Defendant Williarn Slayton’s breach of duty as set
forth above, Plaintiff Wanda Rizzuto suffered bodily injury resulting in physical impainnent.

23. As a direct and proximate result of Defendant Wiiliam Slayton’s breach of duty as
set forth above, Plaintiff Wanda Rizzuto incurred and continues to incur economic losses and
damages, including, but not limited to, medical and rehabilitation expensesJ and loss of earnings

24. As a direct and proximate result of Defendant Willia_m Slayton’s breach of duty as
set forth above, Plaintiff Wanda Rizzuto suffered and continues to suffer non-economic damages,
including, but not limited to, pain and suffering, inconvenience emotional distress, loss of
enjoyment of life and impairment of quality of life.

SECOND CLAIM FOR RELIEF
Negligence Per Se - Defendant W'illiam Slayton

25. Plaintiff incorporates herein by this reference the allegations contained in
Paragraphs 1 through 24 of this Complaint as if set forth aerbaiz'm. -

26. When William Slayton operated the Freightliner semi tractor trailer in such a
manner as to cause a collision with the vehicle driven by Plaintiff Wanda Rizzuto, Defendant
William Siayton was in violation of Colorado statutes, including, but not limited to, C.R.S. § 42-
4-1401, Recl<less Driving, and C.R.S. § 42-4-1402, Careiess Driving.

27. Plaintiff Wanda Rizzuto is a member of the class for whose protection the above-
mentioned statutes were enacted

28. The incident hereinabove described and the injuries and/ or damages that Plaintiff
Wanda Rizzuto suffered as a result of the collision are the kind of injuries and / or damages
sought to be prevented by the passage of the above-mentioned statutes.

29. Defendant Williarn Siayton’s violations of the above-mentioned statutes were the
direct and proximate cause of Plaintiff Wanda Rizzuto's injuries and damages

30. As a direct and proximate result of Defendant William Slayton’s violation of the
above-mentioned statutes, Plaintiff Wanda Rizzuto incurred and will continue to incur economic

 

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losses and damages, including, but not limited to, medical and rehabilitation expenses, and loss of
earnings

31. As a direct and proximate result of Defendant William Slayton’s violations of the
above-mentioned statutes, Plaintiff Wanda Rizzuto suffered and will continue to suffer non-
economic damages, including, but not limited to, pain and suffering, inconvenience emotional
distress and impairment of quality of life.

32. As a direct and proximate result of Defendant William Slayton’s violations of the
above-mentioned statutes, Plaintiff Wanda Rizzuto suffered bodily injury resulting in physical
impairment '

THIRD CLAIM FOR RELIEF
Vicarious Liability - Defendant Liberty Truck and Trailer leasing & Sales, LLC,
pursuant to the Doctrine of Respondeat Superior

33. Plaintiff incorporates herein by this reference the allegations contained in
Paragraphs 1 through 32 of this Complaint as if set forth verbatim

34. At the time, date and place of the aforementioned collision, Defendant William
Slayton was an agent and/ or employee of Defendant liberty Truck and Trailer leasing & Sales,
Ll.C.

35. At the time, date and place of the aforementioned collision, Defendant Williarn
Slayton was acting within the course and scope of his employment and / or agency, and with the
authority of liberty Truck and Trailer leasing & Sales, LLC.

36. The acts or omissions of Defendant liberty Truck and 'l`railer leasing & Sales,
LLC's agent and/ or employee at the time of the collision are, by law, deemed the acts or
omissions of Defendant liberty 'l"ruck and 'l`railer leasing & Sales, LLC, pursuant to the
doctrine of Rrrpoadeaf SaPen`oa

FOUR'I'H CLAIM FOR RELIEF
Negligent Entrustment - Defendant liberty Truck and Trailer leasing & Sales, LLC

37. Plaintiff incorporates herein by this reference the allegations set forth with
specificity in paragraphs 1 through 36 of this Complaint, as if set forth aar)'wz‘im.

38. Defendant liberty Truck and 'l`railer leasing & Sales, LLC, permitted Defendant
\William Slayton to operate its Freightliner semi tractor trailer, which was under the control of
Defendant liberty Truck and Trailer leasing & Sales, LLC, when it knew or should have known
that Defendant William Slayton intended toJ or was likely to, use the Freightliner semi tractor
trailer in such a manner as to create an unreasonable risk of harm to others.

39. As a direct and proximate result of Defendant liberty Truck and 'l'railer leasing
& Sales, LLC's negligent entrustment of its Freightliner semi tractor trailer to Defendant William

 

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Slayton, Plaintiff Wanda Rizzuto incurred and will continue to incur economic expenses, losses
and damages, including, but not limited toJ medical expenses, and loss of earnings

40, As a direct and proximate result of Defendant liberty Truck and Trailer leasing
& Sales, LLC's negligent entrustment of its Freightliner semi tractor trailer to Defendant William
Slayton, Plaintiff Wanda Rizzuto suffered and will continue to suffer non-economic damages
including, but not limited to, pain and suffering, inconvenience, emotional distress and
impairment of quality of life.

41. As a direct and proximate result of Defendant liberty Truck and Trailer leasing
& Sales, LLC's negligent entrustment of its Freightliner semi tractor trailer to Defendant William
Slayton, Plaintiff Wanda Rizzuto suffered bodily injury resulting in physical impairment

FIFITH CLAIM FOR RELIEF
Negiigent I-Iiring, 'I`raining and Supervision - Defendant liberty Truck and Trailer
Leasing &, Sales, LLC

42. Plaintiff incorporates herein by this reference the allegations contained in
Paragraphs l through 41 of this Complaint as if set forth verbatim

43. At all times material hereto, the employees of Defendant liberty Truck and
Trailer leasing & Sales, LLC, Served as agents of and for Defendant liberty Truck and Trailer
leasing & Sales, LLC.

44. Defendant liberty 'l'ruck and Trailer Leasing & Sales, LLC, owed Plaintiff Wanda
Rizzuto a duty to exercise reasonable care in the hiring, supervision and training of its agents
and / or employees, specifically Defendant William Slayton.

45. Defendant liberty Truck and Trailer leasing & Sales, l_.l.C, breached its afore-
mentioned duty by failing to exercise reasonable care in the hiring, supervision and/ or training
of its agents and/ or employees, specihcally Defendant Williarn Slayton.

46. As a direct and proximate result of the above-mentioned breach of duty owed by
Defendant liberty Truck and Trailer leasing & Sales, LLC, to Plaintiff Wanda Rizzuto to
exercise reasonable care in the hiring, training and supervision of its agents and/ or employees,
Plaintiff Wanda Rizzuto incurred and will continue to incur economic expenses, losses and
damages, including, but not limited to, medical expenses and loss of earnings

47. As a direct and proximate result of the above-mentioned breach of duty owed by
Defendant liberty Truck and Trailer Leasing & Sales, LLC, to Plaintiff Wanda Rizzuto to
exercise reasonable care in the hiring, training and supervision of its agents and / or employees,
Plaintiff Wanda Rizzuto suffered and will continue to suffer non-economic damages including,
but not limited to, pain and suffering, inconvenience, emotional distress and impairment of
quality of iife.

 

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48. As a direct and proximate result of the above-mentioned breach of duty owed by
Defendant liberty Trucl< and 'l`railer leasing & Sales, LLC, to Plaintiff Wanda Rizzuto to
exercise reasonable care in the hiring, training and supervision of its agents and/ or employees,
Plamtiff Wanda l{izzuto suffered bodily injury resulting in physical impairment

SIXTH CLAIM FOR RELIEF
Vicarious Liability - Defendant Melton Truck Lines, Inc.,
pursuant to the Doctrine of Respondeat Superior

49. Plaintiff incorporates herein by this reference the allegations contained in
Paragraphs l through 48 of this Complaint as if set forth verbatim

50. At the time, date and place of the aforementioned incident, Defendant William
Slayton was an agent and/ or employee of Defendant l\/lelton Truck lines, lnc.

51. At the time, date and place of the aforementioned incident, Defendant William
Slayton was acting within the course and scope of his employment and/ or agency, and with the
authority of Melton Truck lines, lnc.

52. The acts or omissions of Defendant Melton 'l'ruck lines, lnc.'s agent and/ or
employee at the time of the incident, are by law deemed the acts or omissions of Defendant
Melton Truck linesJ lnc., pursuant to the doctrine of Re.yboadeai Svpvrion

SEVENTH CLAIM FOR RELIEF
Negligent Entrustment - Defendant Melton Truck Lines, Inc.

53. Plaintiff incorporates herein by this reference the allegations set forth with
specificity in paragraphs 1 through 52 of this Complaint, as if set forth verbatim

54. Defendant Melton Truck lines, lnc., permitted Defendant William Slayton to
operate its f"reightliner semi tractor trailer, which was under the control of Defendant l\/lelton
Trucl< lines, lnc., when it knew or should have known that Defendant William Slayton intended
to, or was likely to, use the Freightliner semi tractor trailer in such a manner as to create an
unreasonable risk of harm to others.

55. As a direct and proximate result of Defendant Melton Truck lines, lnc.'s
negligent entrustment of its Freightliner semi tractor trailer to Defendant William Slayton,
Plaintiff Wanda Rizzuto incurred and will continue to incur economic expenses, losses and
damages, including, but not limited toJ medical expenses, and loss of earnings

56. As a direct and proximate result of Defendant Melton Truck lines, lnc.'s
negligent entrustment of its Freightliner semi tractor trailer to Defendant Williarn Slayton,
Plaintiff Wanda Rizzuto suffered and will continue to suffer non-economic damages including,
but not limited to, pain and suffering, inconvenience, emotional distress and impairment of
quality of life.

 

 

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57. As a direct and proximate result of Defendant Melton Truck Lines, lnc.'s
negligent entrustment of its Freightliner semi tractor trailer to Defendant Wi}liam Slayton,
Plainiiff Wanda Rizzuto suffered bodily injury resulting in physical impairment

EIGHTH CLAIM FOR RELIEF
Negligent Hiring, Training and Supervision - Defendant Melton Truek Lines, Inc.

58. Plaintiff incorporates herein by this reference the allegations contained in
Paragraphs l through 57 of this Complaint as if set forth aerbatim.

59. At all times material hereto, the employees of Defendant Melton Truck Lines,
lnc., served as agents of and for Defendant Melton Truck lines, lnc..

60. Defendant Melton Truck lines, Inc., owed Plaintiff Wanda Rizzuto a duty to
exercise reasonable care in the hiring, supervision and training of its agents and/ or employees,
specihcaily Defendant William Slayton.

61. Defendant Melton Truck Lines, lnc., breached its aforementioned duty by failing
to exercise reasonable care in the hiring, supervision and/ or training of its agents and/ or
employees, specifically Defendant \Wiiiiam Slayton.

62. As a direct and proximate result of the above-mentioned breach of duty owed by
Defendant Melton Truck Lines, lnc., to Plainiiff Wanda Rizzuto to exercise reasonable care in
the hiringJ training and supervision of its agents and / or employees, Plaintiff Wanda Rizzuto
incurred and will continue to incur economic expenses, losses and damages, including, but not
limited to, medical expenses, and loss of earnings

63. As a direct and proximate result of the above-mentioned breach of duty owed by
Defendant l\/ielton Truck Lines, lnc., to Plaintiff Wanda Rizzuto to exercise reasonable care in
the hiring, gaining and supervision of its agents and/ or employees, Plaintiff Wanda Rizzuto
suffered and will continue to suffer non-economic damages including, but not limited to, pain
and suffering, inconvenience, emotional distress and impairment of quality of life.

64. As a direct and proximate result of the above-mentioned breach of duty owed by
Defendant Melton Truck Lines, lnc., to Plaintiff Wanda Rizzuto to exercise reasonable care in
the hiring, training and supervision of its agents and/ or employees, Plaintiff Wanda Rizzuto
suffered bodily injury resulting in physical impairment

WHEREFORE, Plaintiff prays for judgment against Defendant in an amount to be
determined at trial, pre and post-judgment interest, costs and expert witness fees, and for such
other and further relief as the Court may deem proper

Respectfully submitted this 13th day of August 2008.

 

easelo@CVOn@QREBMEHss'¢‘umsm tied"oQ:/e/oseeoccolorado pagansur

Plaintiff’s Address
6037 Rogers Circle
Arvada, Colorado 80403

The Law thce of Cornell]ohnson, P.C.
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T/)e law ON€€ of Come{! lehman P.C.[
Cornell johnson, Esq.

 

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EXHIBIT B

 

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DISTRICT COURT FOR THE 20th ]UDICIAL DISTRICT

 

 

 

 

 

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Court Address: Bouider justice Center it aaa ira assassth
1777 651 Street it ,view {',`Ierli: i}t\§ira (f'rasser
Boulder, Colorado 80302
Phone Nurnber: (303] 441-3750
Plaintiff: WANDA RIZZUTO
vs.
‘ Court Use Only*
Defendants: WILLIAM SLAYTON, LIBERTY TRUCK
AND TRAILER LEASING & SALES, LLC, and
MELTON TRUCK LINES, INC.
Cornell ]ohnson, Atty. Reg. No.: 34449
The Law Ofiice of Cornell johnson, P.C.
999 18th Street, Suite 3000 South Case Number:
Denver, Colorado 80202
Aiiomej/.r]f)r P/airzizj”
Division:
Phone Number: (303) 226-5656
Fax Number: (303] 856-3736
E-mail address: cjolinson§ci)denverslawver.com
CIVIL CASE COVER SHEET

 

 

COMES NOW Plainiiff Wanda Rizzuto by and through her attorneys, The Law Office

of Cornell]ohnson, P.C., and states as follows'.

1. Simpliiied Procedure under C.R.C.P. 16.1 does not apply to this case because ~
Plainiiff is seeking a monetary judgment for more than 15100,000.00 against the Defendants,

including any attorney fees, penalties or punitive damages, but
(see C.R.C.P. lG.l(c)).

Respectfully submitted this l 331 day of August 2008.

excluding interest and costs

 

 

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The Law Ofiice of Cornell ]ohnson, P.C.
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Tbe Law O#‘Z.ce ofCUMe/l lohman P. C. /
Cornell johnson, Esq.

 

